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                                                               United States Bankruptcy Court
                                                                          District of Colorado
 In re      GrowlerU Franco, LLC                                                                           Case No.      19-20102 TBM
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Albright, John M.                                                                                                    2.133000
 2231 Greenwood Avenue
 Wilmette, IL 60091

 Blount, John                                                                                                         2.561500
 1131 Grand Avenue
 Grand Junction, CO 81501

 Blount, William                                                                                                      4.275900
 100 Foster Road
 Leeds, AL 35094

 Box Call Holdings, LLC                                                                                               3.418700
 13950 River Grove
 Olive Branch, MS 38654

 Brown, William                                                                                                       7.375700
 7200 E. Prentice Avenue
 Greenwood Village, CO 80111

 Chapparral Funds, LLC                                                                                                19.236200
 2303 RR 620 South
 #135348
 Lakeway, TX 78734-6219

 Curnutt, Ron                                                                                                         4.814100
 17406 Armel Court
 Parker, CO 80134

 DeVries, Robert                                                                                                      2.133000
 3405 Harlan Street
 Wheat Ridge, CO 80033

 Hanbery, Michael G.                                                                                                  2.681200
 1857 E. Geddes Avenue
 Centennial, CO 80122

 Jensen Boyer Consulting, LLC                                                                                         1.604700
 2106 Roalnd Way
 Eugene, OR 97401

 Lynott, Brian                                                                                                        2.133000
 P.O. Box 2220
 Beaverton, OR 97075




Sheet 1 of 3 in List of Equity Security Holders
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 In re:    GrowlerU Franco, LLC                                                                 Case No. 19-20102 TBM
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities       Kind of Interest
 business of holder

 MacDonald, Scott T.                                                                                           2.133000
 3505 Osage Street
 Denver, CO 80211

 Manalo, Arnel U.                                                                                              2.133000
 2411 E. Franklin Street
 #217
 Richmond, VA 23223

 Meegan, Brian                                                                                                 2.133000
 5850 E. Princeton Avenue
 Cherry Hills Village, CO 80111

 Moose Migrated, LLC                                                                                           4.814100
 P.O. Box 1609
 Mackinac Island, MI 49757

 Pyms, Mark                                                                                                    .797400
 5716 S. Jamaica Way
 Englewood, CO 80111

 Reilly, Charles J.                                                                                            4.275900
 P.O. Box 565
 Broomfield, CO 80038

 Saxman, Brian                                                                                                 2.133000
 7982 E. 33rd Avenue
 Denver, CO 80238

 Shaw, Dave                                                                                                    16.027100
 5689 S. Ouray Street
 Centennial, CO 80015

 White, Dan                                                                                                    8.372400
 75-6026 Alii Drive
 #5-203
 Kailua Kona, HI 96740

 Whittaker, Verne                                                                                              4.814100
 P.O. Box 96
 Creswell, OR 97426




List of equity security holders consists of 3 total page(s)
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 In re:    GrowlerU Franco, LLC                                                                          Case No. 19-20102 TBM
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 22, 2019                                                      Signature /s/ Dave Shaw
                                                                                            Dave Shaw

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 3 total page(s)
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